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                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS


    Prevent U.S.A. Corporation,

             Plaintiff,

    v.                                            No. 2:22-cv-00506-JRG-RSP

    Volkswagen AG; Volkswagen Group of
    America, Incorporated,

                          Defendants.


            PLAINTIFF’S OBJECTIONS TO MAGISTRATE JUDGE’S REPORT AND
                                RECOMMENDATION




                          ORAL ARGUMENT REQUESTED




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                    Abbreviation                                 Term

                       FNC                              Forum non conveniens

                        IAC                  International Automotive Components GmbH

                       MTD                    VW’s Renewed Motion to Dismiss (Dkt. 82)

                      Prevent                         Prevent U.S.A. Corporation

                       SAC                            Second Amended Complaint

                        VW              Volkswagen AG and Volkswagen Group of America Inc.

                      VWAG                                 Volkswagen AG

                      VWUSA                       Volkswagen Group of America Inc.


   * Unless otherwise indicated, emphases herein were supplied by Prevent.




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                                           INTRODUCTION

            Any time “a defendant is haled into court, some inconvenience is expected and acceptable.”

   In re Planned Parenthood Fed’n of Am., Inc., 52 F.4th 625, 629 (5th Cir. 2022) (citations omitted).1

   “[T]he fact that litigating would be more convenient for that defendant elsewhere is not enough to

   justify transfer.” Id. Thus, to obtain a FNC dismissal, a defendant must demonstrate—with

   “unequivocal, substantiated evidence,” not just lawyers’ assertions2—that litigating elsewhere is

   “clearly more convenient.” Traxxas, L.P. v. Egrandbuy, Inc., 2020 U.S. Dist. LEXIS 209639, at

   *6 (E.D. Tex. Sept. 24, 2020) (citations omitted).

            Despite improperly being allowed to re-brief FNC from scratch (see Dkt. 88 at 8-10), VW

   has not come close to establishing that the “private interest”3 FNC factors point to Germany as a

   clearly more convenient forum. In concluding otherwise, Judge Payne inexplicably departed from

   precedent by ignoring the undisputed record; crediting assertions that lack any evidentiary support;

   resolving factual disputes in VW’s favor; overlooking the gaps in VW’s presentation; and placing

   weight on considerations that, as a matter of law, have little or no weight in the FNC analysis.

   Indeed, the most striking aspect of the R&R is that, by the time it issued, virtually all of VW’s

   unsupported assertions of inconvenience had been mooted: discovery was complete, Prevent had


   1
     In re Planned Parenthood and other cases cited herein involved motions to transfer under
   28 U.S.C. § 1404. As the U.S. Supreme Court has explained, however, “Section 1404(a) is merely
   a codification of the doctrine of [FNC] for the subset of cases in which the transferee forum is
   within the federal court system.” Atl. Marine Constr. Co. v. U.S. Dist. Ct. for the W.D. Tex., 571
   U.S. 49, 60 (2013). Thus, the Court can properly rely on its extensive body of § 1404 jurisprudence
   to evaluate VW’s FNC arguments.
   2
     Baris v. Sulpicio Lines, Inc., 932 F.2d 1540, 1550 n.14 (5th Cir. 1991); see Sec. & Exch. Comm’n
   v. Blackburn, 2015 U.S. Dist. LEXIS 179748, at *5 (E.D. Tex. June 30, 2015) (“Defendants
   seeking a transfer cannot carry their burden [with] unsupported assertions, but rather they must
   properly establish relevant venue facts by affidavit, deposition or otherwise.”) (citations omitted).
   3
     Judge Payne found the public FNC factors to be neutral. R&R at 8.




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   submitted an expert report, and trial was just months away.

            The Court should conduct a de novo review (see 28 U.S.C. § 636(b)(1)), reject the R&R,

   and deny VW’s MTD.

                                              ARGUMENT

            Judge Payne erred when he concluded that the “private interest factors weigh in favor of

   dismissal.” R&R at 5. Neither factor he addressed—the relative ease of access to sources of proof

   and the convenience of witnesses—points to Germany as a clearly more convenient forum.

            1.      The first “private interest” FNC factor does not favor Germany.

            The first “private interest” FNC factor concerns the “relative ease of access to sources of

   proof” and “concerns documents and other physical evidence.” Seasons USA, Inc. v. Fun World,

   Inc., 2023 U.S. Dist. LEXIS 150281, at *4-5 (E.D. Tex. Aug. 24, 2023). Judge Payne’s conclusion

   that “Germany . . . would be the more convenient forum for the production of evidence” (R&R at

   6) fails for multiple reasons.

            First, while Judge Payne focused on the alleged location of VW’s sources of proof,

   improperly dismissing all other sources of proof, in its MTD, VW failed to provide any evidence

   that identified where its documents are located, as Prevent explained in its MTD response. See

   Dkt. 88 at 12. This alone should have been dispositive. Blackburn, 2015 U.S. Dist. LEXIS 179748,

   at *5 (a defendant “seeking a transfer cannot carry [its] burden by merely making unsupported

   assertions”) (citations omitted); Monarch Networking Sols. LLC v. Cisco Sys., 2021 U.S. Dist.

   LEXIS 1551, at *15 (E.D. Tex. Jan. 5, 2021) (“[T]he Court should not have to hazard a guess as

   to where those locations might be. Consequently, the Court finds that the locations of Cisco’s data

   storage sites has a neutral effect on the first private factor—not because physical location is

   unimportant, but because it has not been established.”). And while VW attempted to backfill this

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   evidentiary gap in its MTD reply, black-letter law required Judge Payne to find VW’s arguments

   waived. Hammers v. Mayea-Chang, 2019 U.S. Dist. LEXIS 213039, at *21 n.10 (E.D. Tex. Dec.

   11, 2019) (“For the first time in their reply brief, Defendants [identify a new source of proof] and

   suggest that source of proof justifies transfer. . . . [T]he Court finds that this argument is waived.”).

   Finally, even if permitted, VW’s attempt to backfill its initial failure of proof does not support

   Judge Payne’s conclusion that Germany is “the more convenient forum for the production of

   evidence.” R&R at 6. This is because, as a VW witness explained in a declaration submitted with

   VW’s MTD reply, VW also stores its witnesses’ documents in Ireland. Dkt. 91-30 ¶ 3.

            Second, Judge Payne’s conclusion that the location of VW’s documents “strongly”

   supports dismissal is erroneous because, as Prevent demonstrated, without rebuttal from VW, all

   of VW’s documents are electronic.4 The Fifth Circuit recently explained that ‘“[t]he location of

   evidence bears much more strongly on the transfer analysis when . . . the evidence is physical in

   nature.”’ Seasons USA, Inc., 2023 U.S. Dist. LEXIS 150281, at *5 (quoting In re Planned

   Parenthood, 52 F.4th at 630). The location of VW’s sources of proof thus cannot weigh “strongly”

   in favor of dismissal, as Judge Payne concluded. Indeed, in other cases, Judge Payne found that,

   “without indication that . . . documents are stored in an otherwise non-digitally transferrable

   format, they do not weigh in favor of transfer” in a § 1404 analysis.5 At most, as this Court and



   4
     See Dkt. 88-4 at 10 (“[D]efendants identified, collected, and reviewed a large set of documents
   from various central repositories . . . . Defendants then collected hundreds of thousands of
   documents from central repositories, [and] ran search terms over those sets.”).
   5
     Seasons USA, 2023 U.S. Dist. LEXIS 150281, at *6; see also Knott v. Completion Equip. Rental,
   Inc., 2024 U.S. Dist. LEXIS 58941, at *9 (E.D. Tex. Feb. 15, 2024) (“[T]he Court finds . . .
   electronic evidence neutral.”); Emerging Auto. LLC v. Kia Corp., 2024 U.S. Dist. LEXIS 111535,
   at *9-10 (E.D. Tex. June 14, 2024) (“The Court finds that this factor is neutral in the transfer
   analysis. As an initial matter, neither party asserts that any physical documents or evidence exist
   in either district, lessening the weight of this factor in the transfer analysis.”) (citations omitted).

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   other courts within this District have repeatedly found after In re Planned Parenthood, the location

   of VW’s servers should have been entitled to only “minimal” or “slight” weight.6

            Third, Judge Payne erroneously placed no weight on sources of proof associated with

   Prevent. This makes no sense, and, as Prevent explained in its response to the MTD, the data of

   Prevent custodians is maintained on servers located in the United States, Germany, Brazil, and

   Bosnia and Herzegovina. Dkt. 88-1 ¶ 21. Notably, Prevent also maintains hard-copy documents

   in Marshall. Id. And while Judge Payne dismissed Prevent’s U.S.-based—and Marshall-based—

   documents and activities as not “relevant . . . here” (R&R at 6), that was inappropriate for multiple

   reasons. As an initial matter, Judge Payne purported to weigh in on a factual matter that is hotly

   disputed: the extent to which Prevent—the plaintiff in this action (as opposed to its European

   affiliates)—was actually blocked by VW from acquiring U.S.-based suppliers.7 This was error.

   Knott, 2024 U.S. Dist. LEXIS 58941, at *4 (“In considering a transfer under § 1404(a), the Court

   may consider undisputed facts outside of the pleadings but must draw all reasonable inferences

   and resolve factual disputes in favor of the non-movant.”). And, in any event, Prevent offered


   6
     See Lionra Techs. Ltd. v. Fortinet, Inc., 2023 U.S. Dist. LEXIS 202763, at *8 (E.D. Tex. Nov.
   12, 2023) (“[S]ince Fortinet exclusively identifies evidence stored on servers, i.e. in electronic
   form, located in both the Northern District of California and Vancouver, the weight of this factor
   is minimal. Such electronic storage is readily accessible from any district. In re Planned
   Parenthood, 52 F.4th at 630. This is particularly true of the source code and other documents
   maintained on servers in Vancouver. Fortinet has not shown there would be any difference between
   sending electronic files from Vancouver to Texas compared to California.”); Virtualagility, Inc. v.
   Salesforce.com, Inc., 2014 U.S. Dist. LEXIS 12015, at *13 (E.D. Tex. Jan. 31, 2014) (“This Court,
   viewing all the relevant evidence presented before it, concludes that the ease of access to sources
   of proof factor weighs very slightly in favor of transfer.”); Holloway v. City of Fort Worth, 2024
   U.S. Dist. LEXIS 4408, at *12-14 (E.D. Tex. Jan. 9, 2024); Le v. Lockheed Martin Corp., 2023
   U.S. Dist. LEXIS 224615, at *12 (E.D. Tex. Dec. 18, 2023).
   7
     See R&R at 6-7 (“At the hearing, the parties presented conflicting accounts of how far Prevent
   went in attempting these acquisitions, but Volkswagen presented some evidence that such an
   attempt never occurred. While Prevent contended it had forthcoming evidence counter to that
   narrative, it never contended that Mr. Laudermilk [sic] or Prevent USA as a Texas corporation
   were ever involved.”).
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   substantial evidence that it—i.e., the plaintiff in this action—did in fact attempt to acquire various

   suppliers with significant U.S. operations, including, most recently, IAC. See, e.g., Dkt. 88-15

   ¶¶ 8-18 (explaining the chronology of Prevent USA’s attempts to acquire IAC); Dkt. 110 at 2-3

   (detailing instances of VW’s interference in Prevent USA’s acquisitions efforts). Finally, Judge

   Payne’s observation that, because VW has successfully blocked Prevent from the relevant market,

   “there is no showing that [Prevent’s Marshall-based CEO] or Prevent USA undertake any relevant

   activity here” (R&R at 6) ignores that, as the party that has been injured by VW’s conduct, Prevent

   is uniquely in possession of documents on this issue that are relevant as a matter of law.

   Virtualagility, 2014 U.S. Dist. LEXIS 12015, at *11 (“Evidence regarding the nature and extent

   of Plaintiff’s injury is highly relevant to this litigation.”).

            Fourth, Judge Payne inexplicably wrote off all third-party sources of proof reasoning that

   discovery from them “would be expected to only provide a small portion of the relevant evidence”

   and “it is unclear if there is any relevant discovery to be had from these third parties.” R&R at 7.

   These statements cannot be reconciled with the record. As Prevent explained in its MTD surreply,

   several U.S.-based third parties made substantial productions to Prevent, which dwarf VW’s own

   production of documents.8 For example, (i) one of the suppliers Prevent attempted to acquire (Dura)

   produced 23,949 documents; (ii) Houlihan Lokey (an investment bank) produced 35,039 documents;

   and (iii) Jeffries (an investment bank) produced 252 documents. See Dkt. 94 at 7; Dkt. 94-1 ¶ 9. Indeed,

   each one of the three acquisition targets that are the subject of the expert report Prevent served on VW

   before Judge Payne issued the R&R—Dura, a supplier of control and structural systems

   headquartered in Auburn Hills Michigan; Tower, a supplier of metal automotive body structures



   8
       VW produced only approximately 30,000 documents to Prevent.


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   headquartered in Livonia, Michigan; and IAC (and its private equity owner Gamut), the largest

   injection molder in North America, which maintains substantial operations in Arlington (Texas),

   Alma (Alabama), and Southfield (Michigan)—produced documents in response to Prevent-issued

   subpoenas. See Dkt. 123 at 2-3. What’s more, at the time Judge Payne stayed the litigation in light

   of the forthcoming R&R, Prevent (i) was actively litigating two third-party subpoenas it served on

   two of VW’s Michigan-based co-conspirators (Adient US LLC and Lear Corporation);9 and (ii)

   had served subpoenas on two U.S.-based former executives of Tower, one of whom previously

   indicated in writing—and in English—that VW was the reason Tower refused to sell itself to

   Prevent. See Dkt. 94-6 ¶¶ 5-6 & Ex. A (Dkt. 94-7). As such, Judge Payne’s conclusion that there

   are no third-party sources of relevant discovery is flatly wrong.

            When all of the sources of proof are accounted for, the first “private interest” FNC factor

   does not support dismissal in favor of a German forum. There is no conceivable burden with VW

   producing electronic documents in this action (in fact, before the R&R issued, VW had completed

   its document production); Prevent’s own documents are located throughout the world (including

   in Marshall); and third-party sources of proof are unquestionably located in the U.S. and have

   already yielded tens of thousands of relevant documents.

            2.      The third “private interest” FNC factor does not favor Germany.

            The third “private interest” FNC factor looks to “[t]he convenience of willing witnesses

   [and] considers both party witnesses and willing third-party witnesses.” Seasons USA, 2023 U.S.

   Dist. LEXIS 150281, at *7-8. Judge Payne’s conclusion that Germany is the “more convenient

   forum for . . . willing witnesses” (R&R at 6) is erroneous for three distinct reasons.



   9
    On May 17, 2024, the Magistrate Judge presiding over Prevent’s motions to compel issued an
   R&R recommending that the parties’ disputes be transferred to this Court. See Dkt. 119.
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            First, the MTD did not identify any witnesses—party or non-party—who would be

   inconvenienced if they were to attend trial in this Court, as opposed to Germany. This failure of

   proof was dispositive, as Judge Payne found in other cases. Seasons USA, 2023 U.S. Dist. LEXIS

   150281, at *7 (“Without specific identification of . . . witnesses . . . , the Court can neither weigh

   this factor in favor or against transfer.”).

            Second, unlike VW, Prevent identified several relevant third-party witnesses—former

   employees of Prevent—who have committed to appearing at trial in this Court, although they were

   under no obligation to do the same in Germany. Dkt. 88 at 16-17; Dkt. 94-14, 94-16, 94-20. And

   all of Prevent’s witnesses submitted sworn declarations demonstrating that they would willingly

   appear in this Court and would not be inconvenienced by it. This fact weighed against dismissal,10

   but Judge Payne ignored it.

            Third, VW’s suggestions that its unidentified party witnesses would prefer to appear in

   Germany should have been given no weight in the analysis11 and are, in any event, refuted by the

   record. As Prevent explained in its MTD response—without any rebuttal from VW—the four key

   VW trial witnesses are Ralf Brandsätter, Tanja Ernst, Frauke Eßer, and Thomas Golden. Dkt. 88

   at 18.12 But not one of these witnesses resides in Germany. What’s more, collectively, these


   10
      ContentGuard Holdings, Inc. v. Google, Inc., 2014 U.S. Dist. LEXIS 201131, at *15 (E.D. Tex.
   Apr. 16, 2014) (“[T]ransferring the case to NDCA may actually result in a lesser attendance of
   these non-party witnesses.”).
   11
      Vargas v. Seamar Divers Int’l, 2011 U.S. Dist. LEXIS 54386, at *15 (E.D. Tex. May 20, 2011)
   (“In other words, witnesses that are a party or a party’s officers are not considered. In addition,
   current employees have an employment relationship with a party and should be considered party
   witnesses because they can be presumed to appear willingly on behalf of their party employer.”).
   12
      Brandstätter, Volkswagen’s former CEO, was the architect of Project 1. See SAC ¶¶ 105, 110,
   117. Ernst was a senior member of Volkswagen’s Procurement Interior Coordination – Seating
   Department and a key member of the Project 1 team. See Dkt. 88-1 ¶ 20 & Dkt. 88-2. Eßer was
   Volkswagen’s Reactive Risk Management Corporate Purchasing Department. Id. Prevent believes
   that Ernst and Eßer were deeply involved in Volkswagen’s efforts to block Prevent’s attempted

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   witnesses are physically located closer to this Court, and as such proceeding here is objectively

   less burdensome for VW’s own witnesses.

    Custodian                 Location                    Distance to             Distance to
                                                          Wolfsburg,              Marshall, Texas (in
                                                          Germany (in miles)      miles)

    Ralf Brandsätter          Beijing, China              4,66413                 7,058


    Tanja Ernst               Poznan, Poland              258                     5,260
    Frauke Eßer               Puebla, Mexico              5,689                   645
    Thomas Golden             Chattanooga, USA            4,580                   548
                              TOTAL                       15,191                  13,511

            Without explanation, Judge Payne ignored Prevent’s showing, and that was error.

                                               *      *           *

            At bottom, Judge Payne incorrectly weighed the only two “private interest” FNC factors

   addressed in the R&R. Neither factor points to Germany as a clearly more convenient forum. With

   respect to factor one, the record demonstrates that relevant sources of proof are located throughout the

   world—including in the U.S.—and there are no practical discovery impediments to proceeding here.

   Indeed, the best proof that obtaining discovery in this forum was not burdensome is that, by the time

   the R&R issued, fact discovery was complete. With respect to factor three, proceeding in Germany

   would merely shift inconvenience from one forum to another; that is insufficient for dismissal.

                                               CONCLUSION

            For the foregoing reasons, Prevent requests that the Court reject the R&R and deny VW’s

   MTD.



   acquisition of numerous entities. See id. ¶ 20 & Dkt. 88-2; SAC ¶¶ 116-125. Golden appears to
   have provided boots on the ground for the execution of the Project 1 plan in the U.S.
   13
      All distances calculated using the calculator available at https://www.distance.to/.
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   Dated: July 8, 2024                Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

            The undersigned hereby certifies that a true and correct copy of the above and foregoing

   document has been served on July 8, 2024 to counsel of record via the Court’s ECF System.


                                                                       /s/ Samuel F. Baxter
                                                                         Samuel F. Baxter




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